Case 1:17-cv-00928-RBK-KMW Document 50-13

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AES

PO BOX 459079
SUNRISE FL 33345-9079

November 30, 2015

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ARS £01946
ELAINE LEVIN.
iu 84 LINCOLN OR
. GLEMENTOON Wu 08024-2856

Re: 80864955 Valldation Notice
Dear Eialne Levins:

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below. Te pay
aT WWiWarspey C
soclal security number.

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Account Resolution Services

a division of HRRG, LLC

P.O, Box 459079

Sunrise, FL 33345-9079

Toll Free Phone 800-694-3048
En Espafiol 800-694-3397

www,.arspayment.com
PINH 2.80864955,525

sHawn below Hired ARS Account Aesolution Services (ARS) to collect the balance due. We may
just fill {in your creat card Intormation on (he

the creditar, slong with the payment voucher

dir gutormated (VA aceesslble 24 hours aday, call 6t4-PAY-ARS2 (R44-725-2772) oF visit our website
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This communication is from a debl cellector. This is an alt
used for that purpose. {NOTICE : SEE REVERSE FOR IMF

 

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GRTANT INFORMATION}.

< o
Client Account: 0477 - 44427216 Amount Enclosed §_
Creditor Account # Regarding Amt Owed ServDate
ATLANTIC ER PHYS TEAM PED 0139549982-44427216 LEVINS, ADELINE 169.82 09/02/14
ARS

3 DaDSby955 000036982 O1399S49716e 3 4

EXHIBIT

4M

 

PO BOX 630806
CINCINNATI OH 45263-08
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ARS 04
Case 1:17-cv-00928-RBK-KMW Document 50-13 Filed 01/24/20 Page 2 of 2 PagelD: 472

IPAYMENT

ICREDIT CARD

Hi “OUR Pox! cool catd statamant i “ARS*

A Sor Olinyer Chess ho nennoiia Dee, Aud en caroratderY nem weit
alg reves ie corer! prey stolienari,
nse Cheech ACT ESE | CHANGE OF ADDRESS

Address

Dh rile

 

PAYMENT AlaCUNT
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b PLEASE AWINT F

CONFIDENTIAL
ARS 05
